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     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA

13                            UNITED STATES DISTRICT COURT

14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                No. 2:20-CR-326(A)-JFW-1,2,4,5,6

16              Plaintiff,                    REVISED JOINT STATUS REPORT
                                              REGARDING REQUEST FOR SETTING
17                    v.                      TRIAL AND RELATED DATES
18   JOSE LUIS HUIZAR, et al.,                CURRENT TRIAL DATE:        Vacated
                                              PROPOSED TRIAL DATE:       05/24/2022
19              Defendants.

20

21         Pursuant to the Court’s May 10, 2021 Order, plaintiff United
22   States of America, by and through its counsel of record, the Acting
23   United States Attorney for the Central District of California and
24   Assistant United States Attorneys Mack E. Jenkins, Veronica Dragalin,
25   Melissa Mills, and defendants JOSE LUIS HUIZAR, RAYMOND SHE WAH CHAN,
26   SHEN ZHEN NEW WORLD I, LLC, DAE YONG LEE, and 940 HILL, LLC
27   (collectively, “defendants”), both individually and by and through
28
     Case 2:20-cr-00326-JFW Document 186 Filed 05/12/21 Page 2 of 4 Page ID #:1721



 1   their respective counsel of record, hereby file the attached Revised

 2   Joint Status Report.

 3    Dated: May 11, 2021                  Respectfully submitted,

 4                                         TRACY L. WILKISON
                                           Acting United States Attorney
 5
                                           BRANDON D. FOX
 6                                         Assistant United States Attorney
                                           Chief, Criminal Division
 7

 8
                                           MACK E. JENKINS
 9                                         VERONICA DRAGALIN
                                           MELISSA MILLS
10                                         Assistant United States Attorneys

11                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
12

13    Dated: May 11, 2021                   /s/ via e-mail authorization
                                           CAREL ALE
14                                         CHARLES SNYDER
                                           Attorneys for Defendant
15                                         JOSE LUIS HIUZAR
16
      Dated: May 12, 2021                   /s/ via e-mail authorization
17                                         HARLAND W. BRAUN
                                           Attorneys for Defendant
18                                         RAYMOND CHAN
19

20    Dated: May 11, 2021                   /s/ via e-mail authorization
                                           RICHARD M. STEINGARD
21                                         Attorneys for Defendant
                                           SHEN ZHEN NEW WORLD I, LLC
22

23
      Dated: May 11, 2021                   /s/ via e-mail authorization
24                                         ARIEL A. NEUMAN
                                           Attorneys for Defendants
25                                         DAE YONG LEE and 940 HILL, LLC

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     Case 2:20-cr-00326-JFW Document 186 Filed 05/12/21 Page 3 of 4 Page ID #:1722



 1                                 JOINT STATUS REPORT

 2         1.    On May 10, 2021, this Court held a status conference

 3   regarding the trial and related dates.         The Court considered the

 4   parties’ jointly requested May 24, 2022 trial date and additional

 5   agreed-upon pre-trial dates, as well as four disputed dates, as set

 6   forth in the Joint Status Report filed on May 5, 2021 (CR 182).             The

 7   Court ordered the parties to file a revised status report and

 8   proposed order pursuant to the Court’s rulings at the hearing, with

 9   the following revised dates (Court hearings appear in bold):

10
         Event                                                   Date
11       Pretrial Motions (Severance)                        08/09/2021
              Oppositions                                    09/07/2021
12
              Replies                                        09/27/2021
13       Hearing re: Motions to Sever                  10/15/2021 at 8:00 a.m.
         Pretrial Motions (Dismiss)                          09/07/2021
14            Oppositions                                    10/04/2021
15            Replies                                        10/25/2021
         Hearing re: Motions to Dismiss               11/15/2021 at 8:00 a.m.
16       Suppression Motions                                 11/01/2021
17            Oppositions                                    12/06/2021
              Replies                                        01/03/2022
18       Hearing re: Suppression Mtns                 01/31/2022 at 8:00 a.m.
         Govt Experts                                         12/15/2021
19
         Defense Experts                                      01/15/2022
20       Govt 404(b)                                         02/01/2022
         Govt Witness List                                   02/15/2022
21
         Govt Exhibit List                                   02/15/2022
22       Exchange Joint MIL Mtns                             02/14/2022
         Exchange Joint MIL Opps                             03/07/2022
23       Joint MILs (filing)                                 03/09/2022
24       Hearing re: MIL                              03/28/2022 at 8:00 a.m.
         Brady/Giglio                                         03/25/2022
25       Govt Jencks Statements                               03/25/2022
26       Govt Charts & Summaries                              04/22/2022
         Final Transcripts & Translations                    04/22/2022
27       Pretrial Conference                          05/13/2022 at 11:00 a.m.
         Def Jencks Statements                               05/16/2022
28
         Def Charts & Summaries                              05/16/2022
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 1
         Event                                                   Date
 2       Defense Witness List                                 05/16/2022
         Defense Exhibit List                                 05/16/2022
 3
                            TRIAL                     05/24/2022 at 8:30 a.m.
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